     Case 2:21-cv-07235-SB-E Document 12 Filed 10/06/21 Page 1 of 1 Page ID #:43
                                                      October 6, 2021

                                                                 VPC

1

2

3                              UNITED STATES DISTRICT COURT
4
                          CENTRAL DISTRICT OF CALIFORNIA
5

6    SHAWN CASAS,                                Case No.: 2:21-cv-07235-SB-E
7                 Plaintiff,
8                                                ORDER TO SHOW CAUSE RE:
     vs.                                         DISMISSAL
9

10   CAPITAL ONE BANK USA, N.A.,
11                Defendant
12

13
           The parties filed a notice of settlement on October 5, 2021.

14
           IT IS HEREBY ORDERED that the parties are to show cause why the
15
     action should not be dismissed with prejudice. If the parties file a proposed order
16
     to dismiss the entire action with prejudice by October 29, 2021, the case will be
17
     dismissed and this order to show cause discharged without further notice.
18
     Otherwise, the defendant shall file a response to the complaint by November 5,
19
     2021, and the parties should be prepared for the Court to set a date for the
20
     mandatory scheduling conference within 30 days thereafter.
21

22
     Dated: October 6, 2021
23

24
                                                                  Stanley Blumenfeld, Jr.
25                                                               United States District Judge
26

27

28
